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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                                          , CLER?<
                                  CENTRAL DIVISION
                                                                                                  08>~
UNITED STATES OF AMERICA                     )      No. 4:23CR   a:x:Pl~ ec;M
                                             )
V.                                           )      18 U.S.C. § 922(g)(l)
                                             )      18 U.S.C. § 924(e)
LEAH GOODING                                 )


                                        INDICTMENT

THE GRAND JURY CHARGES THAT:

                                           COUNTl

       A.      On or about May 16, 2022, the defendant,

                                       LEAH GOODING,

had been previously and knowingly convicted of one or more of the following crimes punishable

by a term of imprisonment exceeding one year, including at least three previous convictions for

offenses committed on occasions different from one another:

               1.     Aggravated Assault - Family, in Pulaski County, Arkansas, Circuit Court

                      in Case Number 60CR-06-2200;

               2.     Theft by Receiving and Theft by Receiving in Pulaski County, Arkansas,

                      Circuit Court in Case Number 60CR-07-4418;

               3.     Theft by Receiving, in Pulaski County, Arkansas, Circuit Court in Case

                      Number 60CR-07-4828;

               4.     Possession of Firearms by Certain Persons and Possession of Defaced

                      Firearm, in Pulaski County, Arkansas, Circuit Court in Case Number

                      60CR-08-415;

               5.     Theft of Property, in Pulaski County, Arkansas, Circuit Court in Case

                      Number 60CR-10-2483;

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                6.     Robbery, in Pulaski County, Arkansas, Circuit Court in Case Number

                       60CR-1 l-1576;

                7.     Residential Burglary- Criminal Attempt, in Pulaski County, Arkansas,

                       Circuit Court in Case Number 60CR-15-913 ;

                8.     Endangering the Welfare of Minor- I and Endangering the Welfare of

                       Minor- I, in Saline County, Arkansas, Circuit Court in Case Number

                       63CR-06-612; and

                9.     Aggravated Assault in Hudson County, New Jersey, Circuit Court in Case

                       Number I-280-2-01.

       B.       On or about May 16, 2022, in the Eastern District of Arkansas, the

defendant,

                                        LEAH GOODING,

knowingly possessed, in and affecting commerce, a firearm, that is: a Heritage, .22 caliber

Rough Rider revolver, bearing serial number P91419 in violation of Title 18, United States

Code, Sections 922(g)(l) and 924(e).

                                    FORFEITURE ALLEGATION

       Upon conviction of the offense alleged in Count 1of this Indictment, the defendant,

LEAH GOODING, shall forfeit to the United States pursuant to Title 18, United States Code,

Section 924(d), Title 21, United States Code, Section 853 , and Title 28, United States Code,

Section 2461 (c), all firearms and ammunition involved in the commission of the offense.



                     [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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